   3:21-mc-00735-CIV         Date Filed 12/03/21     Entry Number 1        Page 1 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 1 of 13 PageID# 13483




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

               Plaintiffs,

        v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                         CASE NO. 1:20-CV-484-LO-TCB
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

               Defendants.


  800 HOYT LLC,

               Intervening Interpleader
               Plaintiff,

  V.

  BRIAN WATSON, WDC HOLDINGS, LLC,
  PLW CAPITAL I, LLC, BW HOLDINGS,
  LLC, AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.

               Interpleader Defendants.



                   ORDER APPOINTING RECEIVER AND ORDERING
                    TURNOVER OF PROPERTY TO THE RECEIVER

        On September 0, 2021, Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.

  (collectively “Amazon”) filed a Motion To Hold Defendants Brian Watson & WDC Holdings LLC

                                             1
   3:21-mc-00735-CIV           Date Filed 12/03/21         Entry Number 1           Page 2 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 2 of 13 PageID# 13484


  In Civil Contempt (the “Motion”). Dkt. 37. On October 27, 2021, having reviewed the

  arguments and evidence submitted by the parties, the Court entered an Order Granting Plaintiffs’

  Motion To Hold Defendants Brian Watson & WDC Holdings In Civil Contempt. Dkt. 413

  (“Contempt Order”). Pursuant to that Order, and after due deliberation and consideration of the

  submissions directed therein, the Court finds and concludes as follows:

         A.      On June 5, 2020, the Court entered the Preliminary Injunction (the “Injunction”),

  that requires Brian Watson and WDC Holdings LLC dba Northstar Commercial Partners LLC

  (collectively “Defendants”) to: (a) secure $ 21,250,000 through the entry and execution of final

  judgment in this action by: (i) promptly placing the funds in an escrow account; or (ii) obtaining

  and depositing in the Court's Registry a surety bond from a licensed bonding company; or

  (iii) relying on a combination of bond and escrow options; and (b) refrain from transferring,

  or otherwise disposing of assets used in, or obtained from, any activities relating to Defendants’

  real property transactions with Amazon in Virginia since 2018. Dkt. 57 ¶¶ 2, 7.

         B.      On October 27, 2021, the Court issued the Contempt Order finding Defendants in

  “willful civil contempt” of the Injunction based on Defendant’s “willful and knowing failure to

  comply” with the Injunction. Dkt. 413 ¶ 1.

         C.      The Contempt Order provides that the Court would separately enter an order

  appointing a receiver pursuant to 28 U.S.C. § 754 and Fed. R. Civ. P. 66, with the full power of an

  equity receiver and at Defendants’ expense, for the purpose of preventing further irreparable harm

  to Plaintiffs and coercing Defendants’ compliance with the Court’s Injunction. Dkt. 413 ¶ 2.

         D.      On November 3, 2021, pursuant to the Contempt Order, Amazon filed a proposed

  order and notice containing the name and qualifications of Mark A. Roberts of Alvarez & Marsal

  North America, LLC (“Mark Roberts”) as the proposed receiver.          7KH &RXUW QRWHV WKDW DV RI

  1RYHPEHUWKLVSURSRVHGRUGHUDQGQRWLFHUHPDLQVXQRSSRVHG
         E.     Having reviewed the proposed order, notice, and qualifications submitted, the

                                                  2
   3:21-mc-00735-CIV              Date Filed 12/03/21         Entry Number 1           Page 3 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 3 of 13 PageID# 13485




  Court finds that Mark A. Roberts possesses the necessary qualifications and is not an attorney for,

  or related to, any party in this action.

          Based upon the foregoing findings and conclusions, the Motion, and the record before the

  Court with respect to the Motion, and after due consideration and good and sufficient cause

  appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.      Mark A. Roberts is hereby appointed as receiver (the “Receiver”) of WDC

  Holdings LLC dba Northstar Commercial Partners LLC (“WDC”), R. Brian Watson, and the

  Assets (as defined below).

          2.      The “Assets” include all of the Defendants’ assets, including proceeds, wherever

  located, including but not limited to, all of Defendants’: (a) property, real and personal, tangible

  and intangible, of whatever kind and description, wherever situated; (b) rights (including rights to

  payment and distributions), title, and interest, whether now owned or hereafter acquired in, under

  and to any entity (including, but not limited to, the entities set forth in Exhibit A hereto), including

  any rights of control, ownership, distribution, and participation (“Subject Entities”); (c) cash and

  any bank and brokerage accounts; and (d) claims and causes of action of any type, whether in

  equity or in kind, in contract or pursuant to a promissory note or any other enforceable agreement,

  in litigation, via settlement, or pursuant to any form of insurance policy or coverage (collectively,

  “Causes of Action”).

          3.      The Receiver shall file with the Clerk of this Court a bond or letter of credit in the

  amount of $10,000, either in cash, by firm check, or with sureties approved by the Court,

  conditioned that the Receiver will well and truly perform the duties of his office and duly account

  for all monies and properties which may come into his hands and abide by and perform all things

  which he shall be directed to do under this Order and that he, in the exercise of his authority under

                                                     3
   3:21-mc-00735-CIV             Date Filed 12/03/21          Entry Number 1          Page 4 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 4 of 13 PageID# 13486




  this Order, determines Defendants are obligated to do with respect to Assets within the purview of

  this Order.

         4.      Defendants, and their officers, directors, partners, managers, agents, servants,

  employees, representatives, attorneys, and all persons in active concert or participation with them

  who receive notice of this Order by personal service or otherwise, shall immediately deliver to the

  Receiver: (a) any and all Assets in the possession or under the control of any one or more of them;

  (b) all of Defendants’ past records, including, without limitation, accounting records,

  disbursements, banking records, and any other books and records for the period from June 5, 2020

  through the date of this Order; (c) all of Defendants’ past records, including, without limitation,

  accounting records, disbursements, banking records, and any other books and records requested

  by Receiver for periods beyond the period prescribed in (c) above; (d) copies of all material

  contracts to which any Defendant is a party and all operating agreements for any limited liability

  company and organizational documents for any Subject Entity; and (e) copies of any complaint

  filed against, or written demand or claim issued to, any of the Defendants or any Subject Entity.

         5.      Until further order of this Court, the Receiver is hereby authorized forthwith to take

  any actions he deems necessary to the proper and lawful discharge of his responsibilities under

  this order and the conduct of Defendants, including the following:

                 a.      Take any actions necessary to take complete and exclusive control,

  possession and/or custody, to the extent applicable or to the extent the Receiver deems necessary,

  of the Assets, and of any proceeds thereof, to the extent necessary to ensure compliance with the

  Court’s Injunction;

                 b.      Take possession of, preserve, insure, protect, and manage the Assets, in

  whole or in part, whether in the ordinary course or otherwise, in each case as determined by the

  Receiver, or otherwise by contract with respect to all or a portion thereof, including, but not limited

                                                    4
   3:21-mc-00735-CIV              Date Filed 12/03/21         Entry Number 1        Page 5 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 5 of 13 PageID# 13487




  to: (a) employing advisors, professionals, employees, brokers, auctioneers, appraisers, agents,

  clerks, outside accountants, attorneys, and other suppliers of goods and services and paying for

  them at ordinary and usual rates from the Assets; and (b) maintaining, insuring, assembling, and

  protecting the Assets;

                  c.       Maintain access to and exclusive control of each of Defendants’ bank and

  brokerage accounts, provided that Receiver may authorize and approve, in his sole discretion,

  expenditures by Watson that either Watson or a designated officer of WDC presents and

  documents to Receiver as reasonably necessary to the continued operation or preservation of

  WDC, or to the discharge of its responsibilities or obligations, as a going concern, and that

  Receiver may also authorize and approve, in his sole discretion, a monthly budget of $10,000 for

  Watson’s personal expenses, subject to the Receiver’s authority to approve, in his sole discretion,

  advance written requests for specific personal expenditures in excess of this amount up to a

  monthly total of $50,000, with any personal monthly expenditures in excess of $50,000 in the

  aggregate requiring approval of the Receiver as well as at least three business days advance notice

  to, and approval by, the Court;

                  d.       Make all payments and transfers of Assets in satisfaction and compliance

  with the Injunction and, to the extent necessary to make such payments, borrow funds and repay

  any funds borrowed from the leverage or proceeds of the Assets;

                  e.       Prosecute, settle, compromise, collect, and otherwise enforce any claims or

  Causes of Action by Defendants against any other party without need for further approval or

  consent of any person; provided, however, that any compromise of claims or Causes of Action in

  the original face amounts in excess of $100,000 shall require notice to Defendants and Amazon

  and either: (i) consent of all such parties, or (ii) approval by this Court;




                                                     5
   3:21-mc-00735-CIV                Date Filed 12/03/21     Entry Number 1          Page 6 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 6 of 13 PageID# 13488




                 f.      Alter the place of payment and the method of collection of any receivables

  or other amounts due directly or indirectly to the Defendants where the Receiver deems such

  changes reasonably required to ensure proper application of such payments and collections;

                 g.      Communicate with any person or entity and obtain any information and

  documents the Receiver deems necessary or useful in furtherance of this Order or the Injunction;

                 h.      Provide quarterly reports to Defendants and Amazon and the Court detailing

  the Receiver’s disbursements for paying the costs incidental to the receivership activities

  encompassed by this Order, any payments to or for the expenses of Defendants, and describing the

  Receiver’s activities and the financial and operational status of Defendants;

                 i.      Sell publicly traded securities and sell other Assets to generate cash

  available to fund the escrow account or secure a bond in compliance with the Injunction (or to

  pledge securities and other Assets to secure such bond), provided that any sales or pledge of Assets

  valued at more than $50,000 at the time of same other than publicly traded securities shall be

  completed only after notice to Defendants and Amazon and either: (i) consent of all such parties,

  or (ii) approval by this Court;

                 j.      Exercise, subject to the limits of this Order including the requirements for

  Court approval of certain disposition, the full authority, with power of attorney on behalf of and

  in the name of Defendants, to: (a) execute and deliver any and all of the documents, including,

  but not limited to, contracts, brokers’ or advisors’ retention agreements, purchase and sale

  agreements, deeds of conveyance, closing statements, settlement statements, affidavits requested

  by title companies, and any other documents necessary or helpful to the performance of the

  Receiver’s duties as more fully set forth herein; (b) sign on behalf of Defendants any such

  documents; (c) sign on behalf of Defendants any invoices, or notices to account debtors, or

  contracts necessary or helpful to the performance of his activities provided for herein; (d) endorse

                                                   6
   3:21-mc-00735-CIV            Date Filed 12/03/21          Entry Number 1          Page 7 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 7 of 13 PageID# 13489




  on behalf of any Defendant any negotiable collateral that may come into the possession or control

  of the Receiver; (e) initiate, defend, make, settle, and/or adjust all claims under Defendants’

  policies of property or other insurance and make all determinations and decisions with respect to

  such policies of property or other insurance, and notify any and all insurers under any such policies

  of property or other insurance that any proceeds paid thereunder shall be paid to the Receiver until

  such time as such insurance carriers are advised to the contrary by this Court or until such insurance

  carriers receive a certificate issued by the Clerk of this Court evidencing a final dismissal of this

  action following a final judgment on the merits or settlement of all claims with Amazon; (f)

  institute, defend, settle and/or adjust disputes and claims respecting the Assets, including any

  claims to avoid transfers made with the purpose or effect of diminishing Defendants’ capacity to

  comply with the Injunction and any claims to recover amounts that were both related to the

  Amazon transactions and disbursed in violation of the Injunction after it was entered on June 5,

  2020, for amounts and upon terms that the Receiver determines to be reasonable; (g) obtain, review

  and analyze any past records, including, without limitation, accounting records, disbursements,

  banking records, and any other books and documents in furtherance of the Receiver’s duties

  hereunder; (h) pay prior obligations incurred by the Defendants, by their agents, officers, directors,

  partners, managers, and servants, or any other person or entity charged with the responsibility of

  maintaining and operating the Assets, if such obligations are deemed by the Receiver to be

  reasonably necessary or advisable, subject in all respects to this Order and the Injunction; and (i)

  cause to be executed and delivered any documents and releases that Receiver determines to be

  reasonably necessary, and at all times consistent with the terms of this Order. The appointment of

  the Receiver as Defendants’ attorney-in-fact with respect to the Assets, and each and every one of

  his rights and powers, being coupled with an interest, is irrevocable until the receivership is

  discharged by this Court;

                                                    7
   3:21-mc-00735-CIV             Date Filed 12/03/21          Entry Number 1          Page 8 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 8 of 13 PageID# 13490




                 k.      Exercise the full authority, as attorney-in-fact, on behalf of and in the name

  of Defendants, to: (a) take any and all actions that may be required or desirable to preserve, renew

  and maintain the legal existence and good standing of Defendants, as applicable, in such

  jurisdictions where they conduct business; (b) take any and all actions that may be required or

  incidental to preserve, renew and maintain the qualification and authority (including any applicable

  licenses and regulatory authority) to do business and good standing in each other jurisdiction where

  it is necessary or desirable for Defendants to conduct business paying applicable franchise taxes;

  (d) execute and deliver any and all documents, reports, or other forms in furtherance of the

  Receiver’s responsibilities herein; and (e) engage in all actions reasonable or necessary to

  accomplish the foregoing responsibilities;

                 l.      Incur the risks and obligations ordinarily incurred by owners, managers, and

  operators of similar businesses and enterprises, and no such risk or obligation so incurred shall be

  the personal risk or obligation of the Receiver, but rather a risk or obligation to be paid solely from

  the receivership Assets;

                 m.      (i) take possession of and receive any money on deposit from any banks

  with which any Defendant maintains accounts, and upon the receipt by the Receiver of said funds,

  to discharge any bank from further responsibility for accounting to any Defendants for funds which

  the Receiver has taken; and (ii) issue demands for the freezing and turnover of funds to any

  financial institution or title company (or escrow agent), in each case, where determined by

  Receiver to be necessary or appropriate to comply with the terms of the Injunction or this Order;

                 n.      Delete the authorized signatories on any account of Defendants and replace

  the same with the name of the Receiver or his designee;

                 o.      Take possession of, or obtain access to, the books, papers, records, invoices,

  and receipts of Defendants on a continuing basis, including without limitation Defendants’

                                                    8
   3:21-mc-00735-CIV              Date Filed 12/03/21       Entry Number 1          Page 9 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 9 of 13 PageID# 13491




  electronic mail and other electronic correspondence (including any servers containing the

  foregoing);

                 p.      Take possession of, and obtain access to, all books, records, documentation

  of any kind or nature, financial documents, contracts, bills or invoices of vendors (or other

  documents that describe the work such vendors performed and the amounts due and owing to

  them), and other documents, including copies of all records or documents on electronic media or

  in computer memory, wherever located; provided, however, nothing contained in this Order shall

  result in a waiver of any attorney privilege held by any of Defendants; and

                 q.      Collect and process all inbound mail addressed to any Post Office Box

  owned or controlled by any Defendant (or any managers or registered or other agents acting on

  behalf of any Defendant) if the mail is addressed to any Defendant or any Defendant’s officer,

  manager, or registered agent.

         6.      Until further Order of the Court, Defendants and all persons acting on behalf of or

  in concert with Defendants are enjoined from taking any of the following actions:

                 a.      Selling, transferring, assigning, encumbering, disposing of, or otherwise

  impairing any Asset, except as permitted by the limited provisions for capped business and

  personal expenditures expressly set forth herein, without authorization from the Receiver, who,

  for the avoidance of doubt, shall authorize transactions that the Receiver deems consistent with the

  terms of the Injunction and this Order or are directed by the Court;

                 b.      Modifying, amending, transferring, selling, assigning, revoking, returning,

  terminating or canceling any contract or agreement related to the Assets without the express written

  consent of the Receiver,

                 c.      Interfering with, obstructing, or preventing in any way, the Receiver’s

  actions pursuant to this Order;

                                                   9
   3:21-mc-00735-CIV            Date Filed 12/03/21          Entry Number 1          Page 10 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 10 of 13 PageID# 13492




                  d.     Interfering in any other way with the Receiver, directly or indirectly.

            7.    Any money or other Assets coming into the possession of the Receiver and not

  expended for any of the purposes authorized herein shall be remitted, as necessary and appropriate,

  to satisfy Defendants’ obligations under the Injunction.

            8.    The Receiver shall be exclusively vested with: (a) all the powers of officers,

  directors, members, and/or managers (as applicable) of Defendant WDC Holdings LLC to take (or

  refrain from taking) any and all actions on behalf of WDC Holdings LLC and (b) each of

  Defendants’ rights and powers to act on behalf of any other entity (including as an officer, director,

  manager, or equity holder), to direct such other entity to take (or refrain from taking) any action in

  furtherance of the terms under the Injunction and this Order, in each case, until further Order of

  the Court.

            9.    The Receiver shall have no liability to any party, unless the Receiver has been found

  by this Court or another court of competent jurisdiction (after the conclusion of any appeals and

  further rights of appeal) to have engaged in willful misconduct, fraud, gross negligence, or

  conversion. Subject to the foregoing, any debts, liabilities, or obligations incurred by the Receiver

  in the course of this receivership, including the operation or management of the Assets, whether

  in the name of the Receiver or the Assets or the receivership estates, shall be the debt, liability,

  and obligation of the receivership estate only and not of the Receiver or any employee or agent

  thereof personally. All who are acting, or have acted, on behalf of the Receiver at the request of

  the Receiver, are protected and privileged with the same protections of this Court as the Receiver

  enjoys.

            10.   To the extent that there is any disagreement arising between the Receiver and

  Amazon or Defendants in connection with the matters relating to this receivership, this Court shall

  have jurisdiction to resolve such disputes.

                                                   10
   3:21-mc-00735-CIV            Date Filed 12/03/21         Entry Number 1           Page 11 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 11 of 13 PageID# 13493




         11.     All persons, including employees, agents, creditors, banks, investors, or others,

  with notice of this Order, are enjoined from in any way disturbing the Assets and from prosecuting

  any actions or proceedings designed to collect their debts or which involve the Receiver or which

  affect the property of Defendants, to the extent that the same would interfere with or disturb these

  receivership proceedings, without the permission of this Court; provided, however, that nothing

  herein shall preclude any party with standing from seeking relief from this Order on proper

  application and after notice and a hearing. Any actions in violation of this Paragraph shall be null

  and void as acts in contravention of this Order.

         12.     The Receiver is hereby authorized to defend, compromise and adjust any actions or

  proceedings in state or federal courts or other tribunals, including agency or mediation

  proceedings, now pending or hereafter instituted by Defendants or their agents, as the Receiver

  may in his sole discretion deem advisable or proper for the protection of the Assets and in

  furtherance of the Injunction and this Order; and to investigate, institute, prosecute, compromise

  and adjust actions in state or federal courts or other tribunals, including agency or mediation

  proceedings, as the Receiver may in his sole discretion deem advisable or proper to recover Assets

  or proceeds thereof improperly or unlawfully held by any person, including but not limited to

  Defendants; and in that connection the Receiver is hereby indemnified and held harmless by the

  receivership estate for any judgment, costs, or expenses suffered or incurred by him or any of his

  agents or attorneys as a result of actions instituted against him or them in relation to the discharge

  of their duties aforesaid or in carrying out or furtherance of this Order; provided, however, that

  nothing herein shall be construed to indemnify the Receiver to the extent that any judgment, costs,

  or expenses that has been found by this Court or another court of competent jurisdiction (after the

  conclusion of any appeals and further rights of appeal) to have arisen from the gross negligence,

  willful misconduct, or fraud of the Receiver or any of his agents or attorneys.

                                                     11
   3:21-mc-00735-CIV            Date Filed 12/03/21           Entry Number 1           Page 12 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 12 of 13 PageID# 13494




            13.   It is the intent of the Court that this Order apply to all Assets.

            14.   The Receiver shall make available to Amazon and the Defendants, for inspection

  and copying, any and all books and records of Defendants relating to the Assets, now or hereafter

  in existence.

            15.   The Receiver shall keep Amazon and the Defendants apprised at reasonable

  intervals, and at least once each quarter, of all information and developments concerning the

  operation of the receivership, until the receivership is terminated.

            16.   The Receiver shall maintain accurate accounting and other records of its activities

  in connection herewith, and shall file reports detailing the results from collections, operations, and

  distributions of the Assets on a quarterly basis or as subsequently ordered by the Court.

            17.   The Receiver and his employees, advisors, agents, and professionals shall be

  compensated, without further order of this Court, for services at their standard hourly rates, plus

  reimbursement of all reasonable and necessary out-of-pocket expenses. All such fees and expenses

  shall be payable from the Assets, which as defined herein include insurance policies applicable to

  this and other litigation. The Receiver shall be authorized to obtain insurance coverage, including,

  but not limited to, coverage with respect to the liabilities, duties and obligations of the Receiver

  hereunder (in the form of an errors and omissions policy, general liability, or otherwise), as the

  Receiver deems reasonably necessary or appropriate, the costs of which shall be payable from the

  Assets.

            18.   The Receiver shall be entitled to resign upon 30 days’ advance written notice to

  Amazon, the Defendants, and the Court, in which case a successor Receiver shall be promptly

  appointed by the Court. Nothing in this Order shall require the Receiver to continue in his services

  hereunder in the event the Assets are insufficient to pay the fees and expenses of the Receiver and

  his professionals in the ordinary course. In the event any fees or expenses of the Receiver or his

                                                     12
   3:21-mc-00735-CIV     Date Filed 12/03/21   Entry Number 1   Page 13 of 13



Case 1:20-cv-00484-LO-TCB Document 433 Filed 11/23/21 Page 13 of 13 PageID# 13495
